                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF ALABAMA
IN RE:                                                                                           CASE NO.:       15-03549-JCO-13
Britney Jenice Mickles                                                                           DATE:                  02/10/2017
DEBTOR                                                                                           DATE CONFIRMED:        03/28/2016
ATTORNEY: Larson Edge, Jr.                                                                       DATE CLOSED:           12/08/2016


                                             FINAL REPORT AND ACCOUNTING

I, Daniel B. O'Brien, Chapter 13 Trustee, am filing the following final report and accounting and certify that the estate has been
fully administered. The case was DISMISSED AFTER CONFIRMATION.

Amount paid to Trustee by or for the Debtor for benefit of creditors: $637.00


                                               CLAIM                                                 INSURANCE
CREDITOR NAME                     CLASS         AMT        % DIV      PRIN PD         INT PD          PD   DUE          BAL DUE
CONSUMER PORTFOLIO SERVICESSECURED - PREF PYMT$6,200.00      100.00     $500.51        $104.05        $0.00     $0.00      $5,820.63
CONSUMER PORTFOLIO SERVICESUNSECURED            $667.40        7.39       $0.00          $0.00        $0.00     $0.00         $49.32
Midland Credit Mgmt Inc/Midland Funding
                                   UNSECURED    $136.34        7.39       $0.00          $0.00        $0.00     $0.00         $10.08
Midland Credit Mgmt Inc/Midland Funding
                                   UNSECURED    $346.15        7.39       $0.00          $0.00        $0.00     $0.00         $25.58
NATIONAL CREDIT ADJUSTERS, LLC     UNSECURED    $617.50        7.39       $0.00          $0.00        $0.00     $0.00         $45.63
Navient Solutions Inc              UNSECURED  $8,755.43        7.39       $0.00          $0.00        $0.00     $0.00        $647.03
Quantum3 Group LLC                 UNSECURED    $315.96        7.39       $0.00          $0.00        $0.00     $0.00         $23.35
RENTDEBT AUTOMATED COLLECTIONS     UNSECURED
                                        LLC     $592.47        7.39       $0.00          $0.00        $0.00     $0.00         $43.78
TEXAS GUARANTEED STUDENT LN        UNSECURED $13,524.46        7.39       $0.00          $0.00        $0.00     $0.00        $999.46
U. S. Department of Education      UNSECURED  $8,689.62        7.39       $0.00          $0.00        $0.00     $0.00        $642.16
Unsecured Creditors                UNSECURED      $0.00        7.39       $0.00          $0.00        $0.00     $0.00          $0.00

                                                                            PRIORITY                                       $0.00
                                                                            PRIORITY INSURANCE                             $0.00
                                                                            SECURED                                      $500.51
                                                                            INTEREST                                     $104.05
                                                                            UNSECURED                                      $0.00
                                                                            COURT CLERK:                                   $0.00
                                                                            ATTORNEY FEE:                                  $0.00
                                                                            TRUSTEE FEE:                                  $32.44
                                                                            REFUNDED TO DEBTOR:                            $0.00
                                                                            ADMINISTRATIVE:                                $0.00
                                                                                                              TOTAL:     $637.00


Wherefore the trustee requests a final decree be entered which discharges the trustee and his surety from any and all liability on
account of the above case, closes the estate, and grants such other relief as may be just and proper.


                                                                         /s/ Daniel B. O'Brien
                                                                         Daniel B. O'Brien, Trustee




                                      Page 1 of 1 - Chapter 13 Case No. 15-03549-JCO-13

              Case 15-03549         Doc 57      Filed 02/10/17 Entered 02/10/17 16:43:20                  Desc Main
                                                   Document Page 1 of 1
